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          ORDERED in the Southern District of Florida on March 11, 2020.




                                                                  Robert A. Mark, Judge
                                                                  United States Bankruptcy Court
_____________________________________________________________________________




                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                          www.flsb.uscourts.gov



       In re:
       PEGGY HERRERA BEOVIDES
                                                        Case No: 19-25589-RAM
                                                        Chapter 13


                          Debtor         _____/

                   ORDER GRANTING APPLICATION FOR COMPENSATION FOR
                  PROFESSIONAL SERVICES OR REIMBURSEMENT OF EXPENSES
                          BY ATTORNEY FOR CHAPTER 13 DEBTOR

              THIS CASE came to be heard on March 10, 2020 at 9:00 A.M. on the Application

       for Compensation for Professional Services or Reimbursement of Expenses by Attorney

       for the Chapter 13 Debtor (DE 29), and the Court having reviewed the Attorney’s

       Application and finding that all of the charges and entries are reasonable and hearing no

       objection, it is



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       ORDERED that Timothy S. Kingcade of Kingcade & Garcia, P.A., attorney for the

Debtor, is awarded the sum of $7,000.00 in attorney’s fees. The balance due of $4,500.00

is to be paid pursuant to the Debtor’s Chapter 13 Plan.


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 Submitted By:
 Timothy S. Kingcade, Esq.
 Kingcade & Garcia, P.A.
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 Attorney Kingcade is directed to serve a conformed copy of this Order on all interested
 parties immediately upon receipt hereof and to file a certificate of service.




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